                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    KENYA WILLIAMS and CHARLES
    GRAHAM

         v.                                           CIVIL ACTION

    JAMES U. ENWEREJI, ENWEREJI                       NO. 17-3906
    ENTERPRISES, and BERTHA
    ENWEREJI

Baylson, J.                                                                      February 12, 2019

     MEMORANDUM RE: DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

        In this case, we must determine whether genuine disputes of material fact preclude

summary judgment on behalf of Defendants James U. Enwereji, Enwereji Enterprises, and Bertha

Enwereji.1 Plaintiffs Kenya Williams and Charles Graham, former tenants of Defendants, initiated

this suit alleging that Defendants violated the Racketeer Influenced and Corrupt Organizations

Act, 18 U.S.C. § 1962 (“RICO”), as well as state laws proscribing fraud and defamation, through

actions related to a lease of a rental unit in Philadelphia, Pennsylvania.

        For reasons discussed below, summary judgment for Defendants is GRANTED.

I.      UNDISPUTED FACTS

        The following is a fair account of the factual assertions at issue in this case, as taken from

both parties’ Statements of Fact and not genuinely disputed.




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        Defendants’ Motion for Summary Judgment (ECF 20) is filed on behalf of all three
defendants, although Defendants argue in their brief that “Enwereji Enterprises” is not a legal
entity. To avoid confusion, this Court will limit its use of the term “Defendants” to instances that
discuss briefing or arguments submitted on behalf of all three named defendants. The Court will
otherwise discuss James and Bertha Enwereji by name, or define them collectively as “the
Enwerejis.”
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       James Enwereji owns eleven rental properties in Philadelphia, Pennsylvania, some of

which are owned jointly by James and his wife Bertha Enwereji. See Defs.’ Statement of

Undisputed Findings of Fact (ECF 27, “SUMF”) ¶¶ 14–16; Pls.’ Resp. to Statement of Undisputed

Material Facts (ECF 28, “Resp. to SUMF”) ¶¶ 14–16. James began renting out properties in 1989,

and he sometimes communicates with tenants under the name “Enwereji Enterprises.” SUMF ¶ 7–

8. Despite this, he has never filed for articles of incorporation under Pennsylvania law for the

name Enwereji Enterprises, has not registered Enwereji Enterprises as a fictitious name, and has

not otherwise started any legal corporation for the purpose of renting out properties. Id. ¶¶ 9–10,

24. On documents related to the rental business, James Enwereji uses his personal address, where

he lives with his wife and son, as well as his personal, landline phone number. Id. ¶¶ 11–12.

Rental income is deposited into James Enwereji’s personal bank account, which he holds jointly

with his wife. Id. ¶¶ 18–19.

       In March of 2013, Williams signed a one-year lease to rent an apartment at 5101 North

11th Street, Philadelphia, Pennsylvania from James Enwereji. Id. ¶ 37; ECF 24, Ex. 17. The lease

signed by Williams to rent 5101 N. 11th Street listed only James Enwereji as “landlord”—the

names “Bertha Enwereji” and “Enwereji Enterprises” did not appear anywhere on the lease. See

ECF 24, Ex. 17. James Enwereji would collect rent payments in person, and Williams only dealt

with James in relation to her renting 5101 N. 11th Street. SUMF ¶¶ 50–51. At some point,

Williams requested permission from James for Graham, who was on parole from a state

conviction, to reside with her at 5101 North 11th Street. SUMF ¶¶ 39–41; Resp. to SUMF ¶ 41.

Williams stopped paying rent in July or August of 2013, and received eviction notices from James

Enwereji on “Enwereji Enterprises” letterhead dated January 5, 2014, and August 22, 2014.




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SUMF ¶¶ 43, 46; ECF 24, Ex. 14. As a result of ensuing court proceedings, Williams was required

to vacate 5101 North 11th Street by December of 2014. SUMF ¶ 48.

       On October 20, 2016, Williams and Graham entered into another lease agreement with

James Ewereji. Id. ¶ 55. This agreement was to rent an apartment at 4903 North 13th Street,

Philadelphia, Pennsylvania. Id. The building had three floors, with a separate apartment unit on

each floor. Id. ¶ 65. Williams and Graham rented the first floor unit. Id. The lease agreement

specified that Williams and Graham would pay $800.00 per month to reside at the apartment for

one year. Id. ¶ 57; ECF 20, Ex. A. Graham was still on parole at the time he leased 4903 N. 13th

Street. Id. ¶ 68. Although both James and Bertha Enwereji’s names were listed on the rental

license issued by the City of Philadelphia for 4903 N. 13th Street, see ECF 24, Ex. 4, Bertha did

not collect rent, make arrangements for repairs, negotiate leases, sign W-4s of residential leases,

or otherwise inspect the rental property. SUMF ¶¶ 26, 28–30; 67, 70, 71, 72. The lease signed by

Williams and Graham to rent 4903 N. 13th Street listed only James Enwereji as “landlord”—the

names “Bertha Enwereji” and “Enwereji Enterprises” did not appear anywhere on the lease. See

ECF 20, Ex. A. In fact, Bertha Enwereji’s name did not appear as “lessor” on any of the rental

leases, and she did not sign any of them. Id. ¶¶ 31–32.

        Williams and Graham complied with their rental obligations at 4903 N. 13th Street for

some time, but then stopped paying rent after May 25, 2017. SUMF ¶ 63. At some point, James

Enwereji commenced eviction proceedings against Williams and Graham, who then vacated the

premises on September 30, 2017. Id. ¶ 64.

II.    DISPUTED FACTS

       The following facts are relevant to Plaintiffs’ case, but disputed by Defendants.




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        Plaintiffs brought this civil action as a result of numerous alleged deficiencies in the living

conditions at 4903 N. 13th Street. Plaintiffs testified that they were without electricity when they

took possession of 4903 N. 13th Street, and then repeatedly lost power as a result of improper

foreign wiring and illegal syphoning of electric from adjoining properties. (See ECF 24, “Opp’n,”

at 5). Plaintiffs further testified that the Enwerejis’ attempts to repair the electricity resulted in

surges that caused Plaintiffs physical harm. Id. at 6. Plaintiffs also testified that conditions at 4903

N. 13th Street were deficient for the following reasons: a leaking roof caused water damage to

Plaintiffs’ property; a defective heater caught fire and damaged Plaintiffs’ property; the apartment

was without functioning smoke detectors and locks on all windows; and Plaintiffs faced constant

infestations of cockroaches and mice. Id.

        When Plaintiffs would complain about the uninhabitable conditions at 4903 N. 13th Street,

they contend that James Enwereji would respond by threatening to “make trouble with [Graham’s]

parole officer.” Id. at 7. According to Plaintiffs, James threatened to contact Graham’s parole

officer monthly at least between December 2016 and May 2017 to falsely report that Graham was

engaging in criminal conduct, unless Plaintiffs ceased complaining about the rental conditions and

continued to pay their rent. Id.; Graham Dep. (ECF 24, Ex. 10) at 87:11-23. A visit by an inspector

from the City of Philadelphia Department of Licenses and Inspections prompted similar threats

from James Enwereji. Id.

        Plaintiffs contend that they stopped paying their rent as a result of the uninhabitable

conditions at 4903 N. 13th Street. Id. When James commenced eviction proceedings against them,

Plaintiffs argue that James sent a letter to the City of Philadelphia accusing Plaintiffs of vandalizing

the apartment unit. Id.




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III.   PROCEDURAL BACKGROUND

       Plaintiffs filed their Complaint on August 30, 2017. (ECF 1, “Compl.”). The Complaint

asserts the following claims:

       Count 1:       RICO § 1962(c)

       Count 2:       RICO § 1962(a)

       Count 3:       RICO § 1962(b)

       Count 4:       RICO § 1962(d)

       Count 5:       State Law Fraud

       Count 6:       State Law Defamation

       Before Defendants answered the Complaint, Plaintiffs filed a Motion for Judgment on the

Pleadings or, Alternatively, a Motion for Summary Judgment on September 28, 2017. (ECF 4).

Defendants then responded with a Cross Motion for Judgment on the Pleadings on October 17,

2017. (ECF 8). Both motions were denied on December 18, 2017. (ECF 14).

       Defendants then filed this Motion for Summary Judgment on August 8, 2018. (ECF 20,

“Mot.” or “Motion”). Plaintiffs responded in opposition on September 20, 2018 (ECF 24, “Opp’n”

or “Opposition”), and Defendants replied in support on October 5, 2018 (ECF 25, “Reply”). The

Court held oral argument on February 8, 2019, and the Motion is ripe for decision.

IV.    LEGAL STANDARD

       A district court should grant a motion for summary judgment if the movant can show “that

there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a). A dispute is “genuine” if “the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc.,




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477 U.S. 242, 248 (1986). A factual dispute is “material” if it “might affect the outcome of the

suit under the governing law.” Id.

       A party seeking summary judgment always bears the initial responsibility for informing

the district court of the basis for its motion and identifying those portions of the record that it

believes demonstrate the absence of a genuine issue of material fact. Celotex Corp. v. Catrett, 477

U.S. 317, 323 (1986). Where the nonmoving party bears the burden of proof on a particular issue

at trial, the moving party’s initial burden can be met simply by “pointing out to the district court .

. . that there is an absence of evidence to support the nonmoving party’s case.” Id. at 325. After

the moving party has met its initial burden, the adverse party’s response must, by “citing to

particular parts of materials in the record,” set out specific facts showing a genuine issue for trial.

Fed. R. Civ. P. 56(c)(1)(A); Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586–

87 (1986) (The nonmoving party “must do more than simply show that there is some metaphysical

dispute as to the material facts”). Summary judgment is appropriate if the adverse party fails to

rebut the motion by making a factual showing “sufficient to establish the existence of an essential

element to that party’s case, and on which that party will bear the burden of proof at trial.” Celotex,

477 U.S. at 322. Under Rule 56, the Court must view the evidence presented on the motion in the

light most favorable to the opposing party. Anderson, 477 U.S. at 255.

V.     DISCUSSION

       A.      RICO § 1962(c) (Count 1)

       Section 1962(c) of the RICO Act makes it unlawful for “any person employed by or

associated with any enterprise engaged in, or the activities of which affect, interstate or foreign

commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise’s

affairs through a pattern of racketeering activity or collection of unlawful debt.” 18 U.S.C.



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§ 1962(c). To prevail on a claim under section 1962(c), Plaintiffs must show (1) conduct (2) of an

enterprise (3) through a pattern (4) of racketeering activity. Sedima, S.P.R.L. v. Imrex Co., Inc.,

473 U.S. 479, 496 (1985). The Court analyzes the statutory elements in dispute below.

               1.      Conduct of an Enterprise

       Plaintiffs allege that James and Bertha Enwereji, together under the name Enwereji

Enterprises, constituted an enterprise through which they perpetrated their racketeering activities.

As recognized by the Supreme Court and the Third Circuit, “[t]he RICO statute ‘describes two

categories of associations that come within the purview of the ‘enterprise’ definition. The first

encompasses organizations such as corporations and partnerships, and other ‘legal entities.’ The

second covers any union or group of individuals associated in fact although not a legal entity.’”

In re Ins. Brokerage Antitrust Litig., 618 F.3d 300, 364 (3d Cir. 2010) (quoting U.S. v. Turkette,

452 U.S. 576, 581-82 (1981)). “[T]o establish liability under § 1962(c) one must allege and prove

the existence of two distinct entities: (1) a ‘person’; and (2) an ‘enterprise’ that is not simply the

same ‘person’ referred to by a different name.” Cedric Kushner Promotions, Ltd. v. King, 533

U.S. 158, 161 (2001) (emphasis added). An association-in-fact enterprise “need not have a

hierarchical structure or a ‘chain of command.’” Boyle v. United States, 556 U.S. 938, 948 (2009).

Rather, “the ‘enterprise’ element of a § 1962(c) claim can be satisfied by showing a ‘structure,’

that is, a common ‘purpose, relationships among those associated with the enterprise, and

longevity sufficient to permit these associates to pursue the enterprise’s purpose.’” In re Ins.

Brokerage Antitrust Litig., 618 F.3d at 368 (quoting Boyle, 556 U.S. at 946); see also United States

v. Fattah, --- F.3d ----, 2019 WL 209109, at *34 (3d Cir. Jan. 16, 2019).

       In this matter, the parties agree that “Enwereji Enterprises” is not a legal entity, in that it is

not incorporated under Pennsylvania law or registered under a fictitious name. SUMF ¶¶ 7, 9–10,



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24; Resp. to SUMF ¶¶ 7, 9–10, 24.2 To succeed on their RICO claims, Plaintiffs must therefore

present evidence that the Enwerejis were engaged in an association-in-fact enterprise. In support

of their position, Plaintiffs argue that Bertha Enwereji testified that “the business of owning and

renting properties was both her and her husband’s.” Opp’n at 22. Indeed, there is no dispute that

James and Bertha jointly owned the property at issue and that both of their names appeared on the

license allowing the property to be rented. There is also no dispute that the rental income was

deposited into a bank account owned jointly by both Enwerejis. The parties further agree that only

James Enwereji signed the lease to rent 4903 N. 13th Street, that Plaintiffs solely discussed rental

maintenance problems with James, and that Plaintiffs only ever gave rent checks to James.

Although Plaintiffs testified that Bertha was sometimes in the car when James would pick up rent

checks, Opp’n at 22, or that Bertha sometimes tended to the garden at 4903 N. 13th Street, ECF

24, Ex. 9 at 174:24-175:2, there is no other evidence of Bertha ever visiting the premises.

       Still, Plaintiffs claim that they have developed sufficient evidence to show that the

Enwerejis were working together as part of an enterprise, under the pseudonym Enwereji

Enterprises. Although not clearly identified in Plaintiffs’ brief, Bertha Enwereji’s deposition

testimony contains some statements suggesting that she was part of the business, including: “the

business we own is properties,” Bertha Enwereji Dep. (ECF 24, Ex. 11) 7:12-13; “I can’t remember

the exact year we started buying . . . or rent[ing],” id. at 8:12-14; and “All I know is my husband,

every year or each year we renew the license of the properties,” id. at 10:15-17. Bertha was aware

that James previously rented another property to Williams, that Williams left the previous property

in bad condition, and that Graham was on parole. Bertha also testified that she advised James not




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       Plaintiffs’ counsel expressly conceded this point at oral argument.
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to rent the 4903 N. 13th Street property to Plaintiffs because of how the prior lease agreement

ended—advice James did not take. Id. at 20:22-21:4.

       The Court assumes, without expressly deciding, that the above facts establish a genuine

dispute for trial as to whether James and Bertha Enwereji were engaged in an association-in-fact

enterprise. However, the Court will proceed to enter summary judgment for Defendants on Count

1 because Plaintiffs have failed to put forth evidence that the presumed enterprise engaged in a

pattern of racketeering activity.3

               2.      Pattern of Racketeering Activity

       Even if Plaintiffs could show the existence of a RICO enterprise, summary judgment is

appropriate because, on this record, a reasonable jury could not find that James and Bertha

Enwereji engaged in a pattern of racketeering activity. To show “racketeering activity,” Plaintiffs

must present evidence that James and Bertha engaged in at least two statutorily specified predicate

acts. See H.J. Inc. v. Northwestern Bell Telephone Co., 492 U.S. 229, 237 (1989); 18 U.S.C.

§ 1961(1). To establish a pattern of racketeering activity, Plaintiffs must demonstrate that the

predicate acts are “related, and that they amount to or pose a threat of continued criminal activity.”

H.J. Inc., 492 U.S. at 239 (emphasis in original). There also must be sufficient evidence that James

and Bertha “participated in the conduct of the enterprise’s affairs . . . through—that is, by means

of, by consequence of, by reason of, by agency of, or by the instrumentality of—a pattern of



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        Defendants also argue that the RICO statute requires Plaintiffs to prove that the enterprise’s
conduct affected interstate commerce. See Mot. at 22. Because the Court finds that Plaintiffs have
failed to proffer evidence sufficient to show a pattern of racketeering activity, we need not decide
whether the Enwerejis’ conduct affected interstate commerce. The Supreme Court has recognized
in another criminal context that “buildings used in interstate commerce” include rented residential
properties. Russell v. United States, 471 U.S. 858, 862 (1985)); see also United States v. Forsythe,
711 F. App’x 674, 676 (3d Cir. 2017), cert. denied, 138 S.Ct. 1030 (2018). However, this Court
expresses doubt that the business of renting two properties—both in the city of Philadelphia—to
Plaintiffs—residents of Philadelphia—is the type of interstate activity contemplated by RICO.
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racketeering activity.” In re Insurance Brokerage Antitrust Litig., 618 F.3d at 372 (internal

citations and quotation marks omitted).

        The Complaint alleges that the Enwerejis “committed at least ten predicate acts,” but

identifies only three with specificity:      (1) extortion, in violation of 18 Pa. C.S. § 3923;4

(2) tampering with a witness or victim, in violation of 18 U.S.C. § 1512; and (3) retaliating against

a witness or victim, in violation of 18 U.S.C. § 1513.5 Compl. ¶¶ 14–15, 62–63, 70, 76, 81.

Plaintiffs reiterate those predicate acts in their Opposition to this Motion. See Opp’n at 8.6



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        The Complaint alleges extortion in violation of 42 Pa. C.S. § 3923. See Compl. ¶ 15.
Because there is no statute with that citation, and because the Pennsylvania crime entitled “theft
by extortion” is found at 18 Pa. C.S. § 3923, the Court will assume Plaintiffs intended to allege the
predicate act of extortion under the latter statutory citation. Under Pennsylvania’s crime of theft
by extortion, “[a] person is guilty of theft if he intentionally obtains or withholds property of
another by threatening to: (1) commit another criminal offense; (2) accuse anyone of a criminal
offense; (3) expose any secret tending to subject any person to hatred, contempt or ridicule; (4)
take or withhold action as an official, or cause an official to take or withhold action; (5) bring about
or continue a strike, boycott or other collective unofficial action, if the property is not demanded
or received for the benefit of the group in whose interest the actor purports to act; (6) testify or
provide information or withhold testimony or information with respect to the legal claim or defense
of another; or (7) inflict any other harm which would not benefit the actor.” 18 Pa. C.S. § 3923(a).
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        As an initial matter, the Court is not convinced that Plaintiffs’ RICO claims can stand on
the predicate acts of tampering with or retaliating against a witness, as proscribed by 18 U.S.C.
§§ 1512–1513. Section 1512 applies to tampering with witnesses in federal proceedings. See Jaye
v. Oak Knoll Village Condominium Owners Assoc., Inc., --- F. App’x ---, 2018 WL 4360901, *2
(3d Cir. Sept. 13, 2018) (citing United States v. Petruk, 781 F.3d 438, 445 (8th Cir. 2015); Deck
v. Engineered Laminites, 349 F.3d 1253, 1257 (10th Cir. 2003)). The Court sees no reason, based
on the language of the statutes, that Section 1513 should be read any differently. To the extent the
record evidences witness tampering or retaliation, it was related to James Enwereji’s attempts to
dissuade Plaintiffs from reporting him to local licensing and inspection authorities. As these
authorities are not federal proceedings, there is no basis in the record to support a finding that the
Enwerejis violated Sections 1512 and 1513.
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        The Court notes that both Plaintiffs and Defendants spend some portions of their briefs
discussing conduct that falls outside of the predicate acts alleged in the Complaint. Defendants’
Motion addresses allegations that Defendants: (1) illegally syphoned electricity from adjoining
units; (2) failed to provide utilities to the Plaintiffs at times; (3) allowed a leak on the porch of the
leasehold to continue; and (4) provided inadequate heating sources for the apartment unit. Mot. at
26 (citing generally to the Complaint). Plaintiffs’ Opposition addresses the predicate acts alleged
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         To the extent the record evidences threats, there is insufficient evidence of witness

tampering, retaliation, or theft by extortion. Plaintiffs rely on James Enwereji’s threats to report

Graham to his parole officer if Graham did not refrain from complaining about, or reporting to

local authorities, the living conditions at 4903 N. 13th Street. They contend in their Opposition

that such threats were made in December 2016, January 2017, February 2017, March 2017, April

2017, May 2017, and June 2017. See Opp’n at 7. Graham testified at his deposition that James

threatened him “every month” after Plaintiffs moved into the apartment. See Graham Dep. 87:11-

23. Graham also testified that he learned from his parole officer—which is testimony based on

hearsay—that James actually did call the officer once and told the officer that Graham had

threatened to kill him. Id. at 64:20-25.

       This testimony, even if admissible and credited by a factfinder, is insufficient to establish

a pattern of racketeering activity. To show a pattern of racketeering activity, Plaintiffs must

present evidence that the predicate acts are related and continuous. See H.J. Inc., 492 U.S. at 239;

Kehr Packages, Inc. v. Fidelcor, Inc., 926 F.2d 1406, 1412 (3d Cir. 1991). “Predicate acts are

sufficiently related when they have the same or similar purposes, results, participants, victims, or

methods of commission, or otherwise are interrelated by distinguishing characteristics and are not

isolated events.” Hindes v. Castle, 937 F.2d 868, 872 (3d Cir. 1991) (internal citation and

quotation marks omitted). The continuity requirement is “centrally a temporal concept,” and may




in the Complaint, see Opp’n at 8, but also argues that the record shows Defendants: (1) maintained
an uninhabitable property which was advertised as being habitable; (2) profited from not
maintaining habitable properties; and (3) collected rent from persons despite not complying with
health and safety codes. Opp’n at 5. Plaintiffs summarize the Enwerejis’ actions as having “the
same stated goal of allowing Defendants to continue collecting rent and payments for short-term
rental properties which were not maintained safely and according to the applicable housing codes.”
Id. The Court need not address these arguments because they are not RICO predicates as required
by statute or applicable precedent.
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be either closed- or open-ended. H.J. Inc., 492 U.S. at 241–42. Open-ended continuity may be

established “where it is shown that the predicates are a regular way of conducting defendant’s

ongoing legitimate business . . . or of conducting or participating in an ongoing and legitimate

RICO ‘enterprise.’” Id. at 243. Closed-ended continuity is established by showing a series of

related predicates extending over a substantial period of time. Id. at 242.

       Here, Plaintiffs have failed to show sufficient evidence to establish either open- or closed-

ended continuity. The facts in this record specifically pertain to the period of time covering

Plaintiffs’ lease of 4903 N. 13th Street. The lease term was for one year, and Plaintiffs resided at

the property for a little over eleven months. Plaintiffs argue that the racketeering activity took

place between December 2016 and June 2017. There is nothing in the record to suggest that the

predicate acts exceeded that time period. Nor do Plaintiffs put forth any evidence that the predicate

acts are emblematic of how James and Bertha Enwereji conduct their ongoing business. Although

the parties agree that Plaintiffs previously rented another property from James, the record is devoid

of any evidence that James engaged in witness tampering, retaliation, or theft by extortion during

the course of that lease. Plaintiffs also argue that an upstairs neighbor at 4903 N. 13th Street, who

moved out just a month or two after Plaintiffs moved in, faced electrical problems. See Williams

Dep. (ECF 24, Ex. 9) at 57:3-58:2. This argument is unrelated to the predicate acts alleged in this

case and cannot support a finding that James Enwereji regularly engages in threatening, retaliatory,

and extortionate behavior as a matter of course. Plaintiffs have thus failed to present any evidence

that the racketeering activity they rely on was part of an open-ended pattern.

       Plaintiffs have also failed to show a closed-ended pattern of continuity. The Third Circuit

has repeatedly held that “conduct lasting no more than twelve months [does] not meet the standard

for closed-ended continuity.” Tabas v. Tabas, 47 F.3d 1280, 1293 (3d Cir. 1995) (collecting cases).



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Even if Plaintiffs had presented evidence that James Enwereji engaged in the predicate acts over

the entire course of the lease, it would not be enough to sustain a showing of a closed-ended pattern

of racketeering activity.

       For all of these reasons, there is insufficient evidence in the record to show that James and

Bertha Enwereji engaged in a pattern of racketeering activity. Judgment will therefore be entered

for Defendants on Count 1.7

       B.      RICO § 1962(a), (b), and (d) (Counts 2, 3, and 4)

       Defendants’ Motion seeks summary judgment on all four RICO counts by arguing that

there is no enterprise, the rental activity does not affect interstate commerce, the conduct did not

take place over a significant enough period of time to constitute a pattern of racketeering activity,

and Plaintiffs’ alleged damages are unrelated to the racketeering activity. The parties did not brief

arguments specific to subsections (a), (b), and (d) of the RICO statute. The Court nonetheless

finds that summary judgment is appropriate on Counts 2, 3, and 4. Plaintiffs’ failure to proffer

sufficient evidence of a pattern of racketeering activity is enough to warrant judgment for

Defendants on all four of the RICO claims. Even if that were not the case, the Court is aware of

no evidence in the record to support claims under subsections (a), (b), or (d).

       Unlike subsection (c), discussed at length above, subsection (a) of the RICO statute makes

it unlawful for a person to receive income from a pattern of racketeering activity and then invest

that income in any enterprise that engages in activities affecting interstate or foreign commerce.




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        Defendants also argued that Plaintiffs failed to show that their damages were proximately
caused by the alleged racketeering activity. Because the Court finds that Plaintiffs have not
satisfied their burden of showing racketeering activity, we need not address Defendants’ causation
argument.


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See 18 U.S.C. § 1962(a). Plaintiffs have not established that there is any evidence in the record to

support such a claim.8

        Subsection (b) specifies that “[it] shall be unlawful for any person through a pattern of

racketeering activity or through collection of an unlawful debt to acquire or maintain, directly or

indirectly, any interest in or control of any enterprise which is engaged in, or the activities of which

affect, interstate or foreign commerce.” 18 U.S.C. § 1962(b). Thus, subsection (b) prohibits the

acquisition or control of an interest in a RICO enterprise. Lightning Lube, Inc. v. Witco Corp., 4

F.3d 1153, 1190 (3d Cir. 1993). Again, the Court is aware of no evidence in the record to support

a finding that James and Bertha Enwereji took control of an enterprise as a result of racketeering.

        Subsection (d) makes it unlawful “for any person to conspire to violate any of the

provisions of subsection (a), (b), or (c)” of Section 1962. 18 U.S.C. § 1962(d) (emphasis added).

Plaintiffs have put forth no evidence, either through briefing or at oral argument, to show the

Enwerejis conspired to violate the RICO statute.

        Summary judgment will therefore be entered for Defendants on Counts 2, 3, and 4.

        C.      State Law Claims for Fraud and Defamation (Counts 5 and 6)

        Having entered judgment for Defendants on Plaintiffs’ four RICO claims, the only

remaining claims fall under Pennsylvania state law. In this matter, federal jurisdiction was

premised solely on the existence of a federal question, pursuant to 28 U.S.C. § 1331. State courts

are the preferred arbiters of state law claims, especially when federal claims are dismissed before

trial. See United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 726 (1966) (“Needless decisions



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       When prompted by the Court at oral argument, Plaintiffs’ counsel represented for the first
time that the record contained evidence that the Enwerejis invested income in an enterprise and
acquired or maintained an interest in or control of an enterprise, as required by 18 U.S.C. § 1962(a)
and (b). Counsel failed to explain where such information could be found in the record, and the
Court is otherwise not aware of such facts in the materials submitted with the parties’ briefing.
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of state law should be avoided both as a matter of comity and to promote justice between the

parties, by procuring them a surer-footed reading of applicable law. Certainly, if the federal claims

are dismissed before trial, even though not insubstantial in a jurisdictional sense, the state claims

should be dismissed as well.”). Upon dismissing all claims within a federal court’s original

jurisdiction, the Court has discretion to decide whether to continue to exercise supplemental

jurisdiction over remaining state court claims. See 28 U.S.C. § 1367(c)(2).

        To resolve Plaintiffs’ remaining state law claims, the Court would need to apply and

interpret Pennsylvania state law. Considerations of comity, fairness, and judicial economy

strongly favor having Pennsylvania courts, rather than federal courts, resolve these claims. Such

important considerations are not outweighed by any personal convenience to the parties in

continuing to litigate in this federal forum.              Accordingly, this Court declines to exercise

supplemental jurisdiction over Plaintiffs’ remaining state law claims and dismisses these claims

without prejudice. See Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 350 (1988) (“When the

balance of these factors indicates that a case properly belongs in state court, as when the federal-

law claims have dropped out of the lawsuit in its early stages and only state-law claims remain,

the federal court should decline the exercise of jurisdiction by dismissing the case without

prejudice.”).

VI.     CONCLUSION

        For the foregoing reasons, Defendants’ Motion for Summary Judgment (ECF 20) is

GRANTED.

        An appropriate Order follows.



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